                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA                            )
                                                    )
v.                                                  )       NO. 3:11-00194
                                                    )       JUDGE CAMPBELL
STERLING RENEVA RIVERS                              )

                                            ORDER

       On September 10, 2013, the jury was unable to reach a verdict on Count Two, and the Court

hereby declares a mistrial on Count Two only. The jury reached a verdict as to all other Counts.

       The case is rescheduled for a jury trial on Count Two only on November 19, 2013, at 9:00

a.m. 18 U.S.C. § 3161(e). A pretrial conference is scheduled for October 10, 2013, at 2:30 p.m. A

status conference is scheduled for October 4, 2013, at 3:00 p.m.

       All previous rulings of the Court regarding trial apply to the retrial of Count Two, absent

further order of the Court. Any new motions in limine or new jury instructions shall be filed by

October 1, 2013.

       It is so ORDERED.

                                                    ____________________________________
                                                    TODD J. CAMPBELL
                                                    UNITED STATES DISTRICT JUDGE




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